       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Richard C. Wagoner, Jr.
        v. Commonwealth of Virginia
        Record No. 2233-12-3
        Opinion rendered by Judge Humphreys on
        April 8, 2014

    2. Larod Nayquan Robinson
        v. Commonwealth of Virginia
        Record No. 0207-13-1
        Opinion rendered by Judge Alston on
        April 29, 2014

    3. Yvonie Décor Charles
        v. Commonwealth of Virginia
        Record No. 0790-13-1
        Opinion rendered by Judge Humphreys on
        April 29, 2014

    4. Jonathan Nathaniel Ramsey
        v. Commonwealth of Virginia
        Record No. 2023-12-4
        Opinion rendered by Senior Judge Annunziata on
         May 13, 2014
      On June 5, 2014 the Supreme Court issued opinions in the following cases, which had
been appealed from this Court:

 1. Michael Armin Gardner
     v. Commonwealth of Virginia
     Record No. 1831-12-4
     CAV petition for appeal denied by Judge Alston on March 20, 2013 and by
      Chief Judge Felton, Judges Humphreys and Kelsey on June 21, 2013
     Judgment of Court of Appeals reversed and matter remanded to this Court for
      remand to the trial court for further proceedings
     (131166)

 2. Tony Mark Herring, Jr.
     v. Commonwealth of Virginia
     Record No. 1430-12-3
     Memorandum opinion rendered by Chief Judge Felton on April 16, 2013
     Judgment of Court of Appeals regarding convictions for abduction of grandfather
      and three children reversed and trial court’s judgment on those convictions reinstated;
      Judgment of Court of Appeals regarding convictions of attempted first-degree
      murder of Heather and use of a firearm during commission of attempted felony
      affirmed
     (130989 and 131059)
